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                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                   PORTLAND DIVISION


UNITED STATES OF AMERICA                           3:17-cr-00400-HZ

              v.                                   MOTION FOR LEAVE TO FILE
                                                   MATTER UNDER SEAL
JASON PAUL SCHAEFER,

              Defendant.


       The United States of America, by Billy J. Williams, United States Attorney for the

District of Oregon, and through Assistant United States Attorney Benjamin Tolkoff, hereby

moves the Court for leave to submit a motion under seal.

       The government has learned that there has been a violation of a discovery protective

order in this matter and must submit the matter for the Court’s review. The submission will




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necessarily identify matters protected by orders of this Court and therefore cannot be published

in the open record of this case.

Dated: February 16, 2019                            Respectfully submitted,


                                                    BILLY J. WILLIAMS
                                                    United States Attorney

                                                    /s/ Ben Tolkoff
                                                    __________________________________
                                                    BENJAMIN TOLKOFF, NYSB #4294443
                                                    Assistant United States Attorney




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